      Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 1 of 12


Department of the Treasury
Internal Revenue Service




James D. Thorburn & Richard Walker
5460 S. Quebec St. Suite 310
Greenwood Village CO 80111




                                       EXHIBIT 2
         Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 2 of 12




  ~
           Department of the Treasury                                        Date:
  ~.BJ     Internal Revenue Service                                          January 17, 2018
           Small Business and Self-Employed                                  Taxpayer ID number (last 4 digits):
  IRS 12600 W Colfax Ave Suite c300                                          1562
           MS 4161 DH                                                        Taxpayer name:

           Lakewood CO 80215                                                 CSW Consulting

                                                                             Form number:
                                                                             1120S
                                                                            Years:
           James D. Thorburn
                                                                             December 31, 2014
           5460 S. Quebec St. Suite 310
           Greenwood Village CO 80111
                                                                            Person to contact/ ID number:
                                                                             David Hewell                 08-98924
                                                                            Contact telephone number:
                                                                             720-956-4675
                                                                            Contact fax number:
                                                                             888-765-1496
 Dear James D. Thorburn:
We are sending the enclosed material under the provisions of your power of attorney or other authorization we
have on file. For your convenience, we have listed the name of the taxpayer to whom this material relates in the
heading above.

If you have any questions, please call the contact person at the telephone number shown in the heading of this
letter.
Thank you for your cooperation.



                                                      tZ!~-4-
                                                        David J. Hewell
                                                        Revenue Agent

 Enclosures:
 D Letters
 D Reports
 D Copy of Determination Letter
~Other




                                                                                       Letter 937 (Rev. 11-2016)
                                                 EXHIBIT 2                             Catalog Number 30760X
          Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 3 of 12



                           Summons
   In the matter of Colorado Colitas LLC, CSW Consulting, DBA Herbal Remedies, and Carl S. Wemhoff
   Internal Revenue Service (Division): _S_m_a_l_lB_us_i_ne_s_s_/_S_e_l_f_E_m~p_lo~y_e_d_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   Industry/Area (name or number) : Western Area Examination
                                                  --------------------------------
   Periods: January 1, 2013 through December 31, 2016

                                                     The Commissioner of Internal Revenue
   To: U.S. Bank National Association
   At: Attn: Legal Dept Subpoena Processing 21st Floor, 800 Nicollet Mall, Minneapolis, MN 55402

   You are hereby summoned and required to appear before _D_a_v_i_d_J_._H_e_w_e_l_l_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   an officer of the Internal Revenue Service, to give testimony and to bring with you and to produce for examination the following books, records , papers,
   and other data relating to the tax liability or the collection of the tax liability or for the purpose of inquiring into any offense connected with the
   administration or enforcement of the internal revenue laws concerning the person identified above for the periods shown .


   Please see the attached sheet

   Contact Revenue Agent David J. Hewell at 720-956-4675 if complying with this summons is expected to be over $500.
   In lieu of hard copies, electronic media is acceptable.




                                                           Do not write in this space




  Business address and telephone number of IRS officer before whom you are to appear:
  Internal Revenue Service, MS-1436DH, 12600 W . Colfax Ave ., Lakewood, CO 80215                                       Telephone: 720-956-4675
  Place and time for appearance at 12600 W . Colfax Ave ., Lakewood, CO 80215




rJJIRS
Department of the Treasury
                                on the _ _ _2_0_ _ _ day of _ _F_eb_r_ua_ry....___
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                                                                                                           day of _ _ _J_a_n_ua_ry~--
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Internal Revenue Service                                                                                   Revenue Agent           08-98924
                                                                                                                                 Title
    www.irs.gov
                                                                                                           Group Manager

                                                                      EXHIBIT 2
Form 2039 (Rev. 10-2010)                                                                                                         Title
Catalog Number 21405J
                                                                                                                Part C -       to be given to noticee
Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 4 of 12




                                             Attachment to Form 2039
                                                   SUMMONS

   In the matter of Colorado Colitas LLC, CSW Consulting, DBA Herbal Remedies, and Carl S. Wemhoff,
   taxpayer identification number XXX-XX-XXXX and mailing address of 4465 W 94 th Ave, Westminster, CO
   8003 l, please provide:

   I.   All bank records in your possession or control for January l st , 20 l 3 through December 3151, 20 l 6
        relating to all accounts in the name of and/or under signature authority or other authority either
        directly, indirectly or through nominees, agents, power of attorney, letter of direction or any device
        whatsoever, or control of, or for the benefit of, Colorado Colitas LLC, CSW Consulting, DBA Herbal
        Remedies, and Carl S. Wemhoff, including, but not limited to:

              a. Account signature cards
              b. Account applications
              c. Bank statements
              d. Cancelled checks (both sides)
             e. Credit and debit memos and advices
             f. Wire transfer authorizations
             g. Deposit slips and deposited items
             h. Cashiers checks
             i. Money orders
             j. Safe deposit box rental agreements
             k. Safe deposit box entry cards and visitation ledgers
             I. All Correspondence




                                                  EXHIBIT 2
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                         Summons
   In the matter of Colorado Colitas LLC, CSW Consulting, OBA Herbal Remedies, and Carl S. Wemhoff
   Internal Revenue Service (Division): _S_m_al_l_B_u_si_n_es_s_/_S_e_l_f_E_m_,_p_lo--"y_e_d_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   Industry/Area (name or number): Western Area Examination
                                                 --------------------------------
   Periods: January 1, 2013 through December 31, 2016

                                                   The Commissioner of Internal Revenue
  To: Wells Fargo Bank N.A.
  At: MAC S4001-01F, PO Box 29728, Phoenix, AZ. 85038

  You are hereby summoned and required to appear before _D_a_v_i_d_J_._H_e_w_e_l_l______________________
  an officer of the Internal Revenue Service, to give testimony and to bring with you and to produce for examination the following books, records, papers,
  and other data relating to the tax liability or the collection of the tax liability or for the purpose of inquiring into any offense connected with the
  administration or enforcement of the internal revenue laws concerning the person identified above for the periods shown .


   Please see the attached sheet

  Contact Revenue Agent David J. Hewell at 720-956-4675 if complying with this summons is expected to be over $500.
  In lieu of hard copies, electronic media is acceptable. Contact email: david.hewell@irs.gov




                                                          Do not write in this space




  Business address and telephone number of IRS officer before whom you are to appear:
  Internal Revenue Service, MS-1436DH, 12600 W. Colfax Ave., Lakewood, CO 80215                                        Telephone: 720-956-4675
  Place and time for appearance at 12600 W. Colfax Ave., Lakewood, CO 80215




fi1IRS
Department of the Treasury
                                on the _ _ _2_0_ _ _ day of _ _F_e_b_ru_a_ry~_ _ _2_0_18__ at __9_:0_0__ o'clock
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Internal Revenue Service                                                                                   Revenue Agent         08-98924
                                                                                                                               Title
   www.irs.gov
                                                                                                           Group Manager
Form 2039 (Rev. 10-2010)                                                                                                       Title
Catalog Number 21405J                                                EXHIBIT 2                                   Part C -     to be given to noticee
Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 6 of 12




                                              Attachment to Form 2039
                                                    SUMMONS

   In the matter of Colorado Colitas LLC, CSW Consulting, DBA Herbal Remedies, and Carl S. Wemhoff,
   taxpayer identification number XXX-XX-XXXX and mailing address of 4465 W 94 th Ave, Westminster, CO
   80031, please provide:

  · I.   All bank records in your possession or control for January I st , 2013 through December 31st, 2016
         relating to all accounts in the name of and/or under signature authority or other authority either
         directly, indirectly or through nominees, agents, power of attorney, letter of direction or any device
         whatsoever, or control of, or for the benefit of, Colorado Colitas LLC, CSW Consulting, OBA Herbal
         Remedies, and Carl S. Wemhoff, including, but not limited to:

               a. Account signature cards
               b. Account applications
               c. Bank statements
               d. Cancelled checks (both sides)
               e. Credit and debit memos and advices
               f. Wire transfer authorizations
              g. Deposit slips and deposited items
              h. Cashiers checks
              i. Money orders
              j. Safe deposit box rental agreements
              k. Safe deposit box entry cards and visitation ledgers
              I. All Correspondence




                                                   EXHIBIT 2
          Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 7 of 12



                           Summons
   In the matter of Colorado Colitas LLC, CSW Consulting, DBA Herbal Remedies, and Carl S. Wemhoff
   Internal Revenue Service (Division): _S_m_a_l_l_B_us_i_ne_s_s_/_S_e_l_fE_m_,__p_lo_,_y_e_d_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   Industry/Area (name or number): Western Area Examination
                                                  -------------------------------
   Periods: January 1, 2013 through December 31, 2016

                                                    The Commissioner of Internal Revenue
   To: Colorado Department of Revenue, Marijuana Enforcement Division
   At: Attn: Julie Postlethwait, 1697 Cole Blvd. Ste 200, Lakewood, CO 80401

   You are hereby summoned and required to appear before _D_a_v_id_J_
                                                                   . H_ew_e_ll_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   an officer of the Internal Revenue Service, to give testimony and to bring with you and to produce for examination the following books, records, papers,
   and other data relating to the tax liability or the collection of the tax liability or for the purpose of inquiring into any offense connected with the
   administration or enforcement of the internal revenue laws concerning the person identified above for the periods shown.


   In the matter of Colorado Colitas LLC, CSW Consulting, DBA Herbal Remedies, and Carl S. Wemhoff, please provide:

   - Copy of the METRC Annual Gross Sales Report for the periods listed above
   - Copy of the METRC Transfers Report for the periods listed above
   - Copy of the METRC Annual Harvest Report for the periods listed above
   - Copy of the METRC Monthly Plants Inventory Report for the periods listed above

  for all associated licensees related to the individuals and entities listed .

  Contact Revenue Agent David J. Hewell at 720-956-4675 before complying with this summons. In lieu of hard copies,
  electronic media is acceptable.




                                                           Do not write in this space




  Business address and telephone number of IRS officer before whom you are to appear:
  Internal Revenue Service, MS-1436DH, 12600 W. Colfax Ave., Lakewood, CO 80215                                         Telephone: 720-956-4675
  Place and time for appearance at 12600 W . Colfax Ave., Lakewood, CO 80215




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Department of the Treasury
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Internal Revenue Service                                                                                   Revenue Agent          08-98924
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   www.irs.gov
                                                                                                           Group Manager
Form 2039 (Rev. 10-2010)                                                                                                        Title
Catalog Number 21405J                                                 EXHIBIT 2                                Part C -        to be given to noticee
                  Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 8 of 12
                                                                                                         Sec. 7603. Service of summons
                  Provisions of the                                                                     (a) In general - A summons issued under section 6420(e)(2), 6421(9)(2), 64270)(2), or 7602

                  Internal Revenue Code                                                                 shall be served by the Secretary, by an attested CQPY delivered in hand to the person to
                                                                                                        whom it is directed, or left at his last and usual place of abode; and the certificate of service
                                                                                                        signed by the person serving the summons shall be evidence of the facts it states on the
                                                                                                        hearing of an application for the enforcement of the summons . When the summons requires
 Sec. 7602. Examination of books and witnesses                                                          the production of books, papers, records , or other data, it shall be sufficient if such books,
 (a) Authority to Summon, etc. - For the purpose of ascertaining the correctness of any re-             papers, records, or other data are described with reasonable certainty
 turn , making a return where none has been made, determining the liability of any person for
                                                                                                        (b) Service by mail to third-party recordkeepers. -
 any internal revenue tax or the liability at law or in equity of any transferee or fiduciary of any             (1) In general. - A summons referred to in subsection (a) for the production of
 person in respect of any internal revenue tax, or collecting any such liability, the Secretary                  books, papers, records, or other data by a third-party recordkeeper may also be
 is authorized -                                                                                                 served by certified or registered mail to the last known address of such
           (1) To examine any books, papers, records, or other data which may be relevant or                     recordkeeper.
           material to such inquiry.                                                                             (2) Third party record keeper. - For purposes of paragraph (1), the term third-party
           (2) To summon the person liable for tax or required to perform the act, or any officer                recordkeeper means -
          or employee of such person, or any person having possession, custody, or care of                              (A) any mutual savings bank, cooperative bank, domestic building and
           books of account containing entries relating to the business of the person liable for                        loan association, or other savings institution chartered and supervised
          tax or required to perform the act, or any other person the Secretary may deem                               as a savings and loan or similar association under Federal or State law,
          proper, to appear before the Secretary at a time and place named in the summons                              any bank (as defined in section 581) , or any credit union (within the
          and to produce such books, papers, records, or other data, and to give such                                   meaning of section 501 (c)(14)(A)) ;
          testimony, under oath, as may be relevant or material to such inquiry; and                                    (B) any consumer reporting agency (as defined under section 603(f) of
          (3) To take such testimony of the person concerned , under oath , as may be relevant                         the Fair Credit Reporting Act (15 U.S.C. 1681 a(f)) ;
          or material to such inquiry.                                                                                  (C) Any person extending credit through the use of credit cards or
                                                                                                                       similar devices;
(bl Purpose may include inquiry into offense. - The purposes for which the Secretary may                               (D) any broker (as defined in section 3(a)(4) of the Securities Exchange
take any action described in paragraph (1 ), (2), or (3) of subsection (a) include the purpose                         Act of 1934 (15 U.S.C. 78c(a)(4));
of inquiring into any offense connected with the administration or enforcement of the internal                         (E) any attorney ;
revenue laws.                                                                                                          (F) any accountant;
(c) Notice of contact of third parties. -                                                                              (G) any barter exchange (as defined in section 6045(c)(3)) ;
          (1) General Notice. -An officer or employee of trie Internal Revenue Service may                             (H) any regulated investment company (as defined in section 851) and
          not contact any person other than the taxpayer with respect to the determination or                          any agent of such regulated investment company when acting as an
         collection of the tax liability of such taxpayer without providing reasonable notice in                       agent thereof;
         advance to the taxpayer that contacts with persons other than the taxpayer may be                             (I) any enrolled agent; and
                                                                                                                       (J) any owner or developer of a computer software source code (as
         made.
                                                                                                                       defined in section 7612(d)(2)) . Subparagraph (J) shall apply only with
         (2) Notice of specific contacts . - The Secretary shall periodically provide to a
                                                                                                                       respect to a summons requiring the production of the source code
         taxpayer a record of persons contacted during such period by the Secretary with                               referred to in subparagraph (J) or the program and data described in
         respect to the determination or colleetion of the tax liability of such taxpayer. Such                        section 7612(b)(1 )(A)(ii) to which source code relates.
         record shall also be provided upon request of the taxpayer.
         (3) Exceptions. - This subsection shall not apply-
                (A) to any contact which the taxpayer has authorized,                                   Sec. 7604. Enforcement of summons
                (BJ if the Secretary determines for good cause shown that such notice                  (a) Jurisdiction of District Court. - If any person is summoned under the internal revenue
               would jeopardize collection of any tax or such notice may involve                       laws to appear, to testify, or to produce books, papers, records, or other data, the United
                reprisal against any person, or                                                        States district court for the district in which such person resides or is found shall have
               (C) with respect to any pending criminal investigation.                                 jurisdiction by appropriate process to compel such attendance , testimony , or production of
                                                                                                       books, papers, records, or other data.
(d) No administrative summons when there is Justice Department referral.-
         (1) Limitation of authority. - No summons may be issued under this title, and the             (b) Enforcement. - Whenever any person summoned under section 6420(e)(2), 6421 (g)(2),
        Secretary may not begin any action under section 7604 to enforce any summons,                  64270)(2), or 7602 neglects or refuses to obey such summons,·or-to produce books, papers ,
        with respect to any person if a Justice Department referral is in effect with respect          records, or other data, or to give testimony , as required , the Secretary may apply to the
                                                                                                       judge of the district court or to a United States Commissioner for the district within which
        to such person .
        (2) Justice Department referral in effect. - For purposes of this subsection-                  the person so summoned resides or is found for an attachment against him as for a
                                                                                                       contempt. It shall be the duty of the judge or Commissioner to hear the application, and , if
               (A) In general. - A Justice Department referral is in effect with respect
                                                                                                       satisfactory proof is made, to issue an attachment, directed to some proper officer, for the
               to any person if-
                                                                                                       arrest of such person, and upon his being brought before him to proceed to a hearing of the
                      (i) the Secretary has recommended to the Attorney General                        case; and upon such hearing the judge or the United States Commissioner shall have
                      a grand jury investigation of, or the criminal prosecution of,                   power to make such order as he shall deem proper, not inconsistent with the law for the
                      such person for any offense connected with the adminis-                          punishment of contempts, to enforce obedience to the requirements of the summons and to
                      tration or enforcement of the internal revenue laws or                           punish such person for his default or disobedience.
                      (ii) any request is made under section 6103(h)(3)(B) for the
                      disclosure of any return or return information (within the
                      meaning of seetion 6103(b)) relating to such person .                            Sec. 7605. Time and place of examination
               (B) Termination. - A Justice Department referral shall cease to be in                   (a) Time and place . - The time and place of examination pursuant to the provisions of
               effect with respect to a person when-                                                   section 6420(e)(2), 6421 (g)(2), 64270)(2), or 7602 shall be such time and place as may be
                      (i) the Attorney General notifies the Secretary, in writing,                     fixed by the Secretary and as are reasonable under the circumstances . In the case of a
                     that -                                                                            summons under authority of paragraph (2) of section 7602, or under the corresponding
                           (I) he will not prosecute such person for any offense                       authority of section 6420(e)(2), 6421 (g)(2) or 64270)(2), the date fixed for appearance
                          connected with the administration or enforcement of the                      before the Secretary shall not be less than 1O days from the date of the summons.
                          internal revenue laws,
                          (II) he will not authorize a grand jury investigation of such
                          person with respect to such an offense, or                                   Sec. 7610. Fees and costs for witnesses
                          (Ill) he will discontinue such a grand jury investigation.                   (a) In general. - The Secretary shall by regulations establish the rates and conditions under
                     (ii) a final disposition has been made of any criminal                            which payment may be made of -
                     proceeding pertaining to the enforcement of the internal                                    (1) fees and mileage to persons who are summoned to appear before the
                     revenue laws which was instituted by the Attorney General                                   Secretary, and
                     against such person, or                                                                    (2) reimbursement for such costs that are reasonably necessary which have been
                     (iii) the Attorney General notifies the Secretary, in writing ,                            directly incurred in searching for, reproducing , or transporting books, papers ,
                    that he will not prosecute such person for any offense                                       records, or other data required to be produced by summons.
                    connected with the administration or enforcement of the                            (b) Exceptions. - No payment may be made under paragraph (2) of subsection (a) if -
                     internal revenue laws relating to the request described in                                 (1) the person with respect to whose liability the summons is issued has a proprie-
                    sub paragraph (A)(ii) .                                                                     tary interest in the books, papers, records or other data required to be produced, or
       (3) Taxable years , etc., treated separately. - For purposes of this subsection , each                   (2) the person summoned is the person with respect to whose liability the summons
       taxable period (or, if there is no taxable period, each taxable event) and each tax                      is issued or an officer, employee, agent, accountant, or attorney of such person
       imposed by a separate chapter of this title shall be treated separately.                                 who, at the time the summons is served, is acting as such .

1) Limitation on examination on unreported income. - The Secretary shall not use financial
                                                                                                       (c) Summons to which section applies . - This section applies with respect to any summons
atus or economic reality examination techniques to determine the existence of unreported               authorized under section 6420(e)(2) , 6421 (g)(2), 64270)(2), or 7602 .
 come of any taxpayer unless the Secretary has a reasonable indication that there is a
;elihood of such unreported income.                                                                    Sec. 7210. Failure to obey summons
                                                                                                       Any person who, being duly summoned to appear to testify, or to appear and produce books,
                                                                                                       accounts, records, memoranda or other papers, as required under sections 6420(e)(2),
Jthority to examine books and witness is also provided under sec. 6420 (e)(2) - Gasoline               6421 (g)(2) , 64270)(2) , 7602 , 7603 , and 7604(b), neglects to appear or to produce such
;ed on farms: sec. 6421 (g)(2) - Gasoline used for certain nonhighway purposes by local                books, accounts , records memoranda, or other papers, shall, upon conviction thereof, be
insit systems, or sold for certain exempt purposes; and sec. 64270)(2) - Fuels not used for            fined not more than $1,000, or imprisoned not more than 1 year, or both , together with costs
cable purposes .                                                                                       of prosecution .
                                                                                           EXHIBIT 2                                                           Form 2039 (Rev. 10-2010)
       Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 9 of 12
 To: CSW Consulting, c/o Carl Wemhoff                                                   Date: 6/1212012
 Address: 4465 W. 94th Ave., Westminster, CO 80031


 Enclosed is a copy of a summons served by the IRS to           7. State in detail every legal argument supporting the
 examine records made or kept by, or to request                    relief requested in your petition. See Federal Rules
 testimony from, the person summoned. If you object to             of Civil Procedure. Note that in some courts you
 the summons, you are permitted to file a lawsuit in the           may be required to support your request for relief by
 United States district court in the form of a petition to         a sworn declaration or affidavit supporting any issue
 quash the summons in order to contest the merits of the           you wish to contest.
 summons.
                                                                8. Your petition must be signed as required by Federal
If you are the taxpayer, see important information below           Rule of Civil Procedure 11.
on the suspensions of your periods of limitation under
I.R.C. section 7609(e)(1) and (e)(2).                           9. Your petition must be served upon the appropriate
                                                                   parties, including the United States, as required by
                                                                   Federal Rule of Civil Procedure 4.
General Directions
 1. You must file your petition to quash in the United         10. At the same time you file your petition with the court,
    States district court for the district where the person        you must mail a copy of your petition by certified or
    summoned resides or is found .                                 registered mail to the person summoned and to the
                                                                   IRS. Mail the copy for the IRS to the officer whose
 2. You must file your petition within 20 days from the            name and address are shown on the face of this
    date of this notice and pay a filing fee as may be             summons. See 7609(b)(2)(8).
    required by the clerk of the court.                        The court will decide whether the person summoned
                                                               should be required to comply with the summons request.
 3. You must comply with the Federal Rules of Civil
    Procedure and local rules of the United States
                                                               Suspension of Periods of Limitation
    district court .
                                                                If you are the taxpayer being examined/investigated by
Instructions for Preparing Petition to Quash                    this summons and you file a petition to · quash the
                                                                summons (or if you intervene in any suit concerning the
 1. Entitle your petition "Petition to Quash Summons."          enforcement of this summons), your periods of limitation
                                                                for assessment of tax liabilities and for criminal
2. Name the person or entity to whom this notice is             prosecutions will be suspended pursuant to I.R.C.
   directed as the petitioner.                                  section 7609(e)(1) for the tax periods to which the
                                                                summons relates. Such suspension will be effective
3. Name the United States as the respondent.                    while any proceeding (or appeal) with respect to the
                                                                summons is pending . Your periods of limitation will also
4. State the basis for the court's jurisdiction, as required    be suspended under section 7609(e)(2) if the
   by Federal Rule of Civil Procedure. See Internal             summoned person fails to fully respond to this summons
   Revenue Code Section 7609(h) .                              for 6 months. The suspension under section 7609(e)(2)
                                                               will begin 6 months after the summons is served and will
5. State the name and address of the person or entity          continue until the summoned person finally resolves the
   to whom this notice is directed and state that the          obligation to produce the summoned information. You
   records or testimony sought by the summons relate           can contact the IRS officer identified on the summons
   to that person or entity.                                   for information concerning the suspension under section
                                                               7609(e)(2). If you contact the IRS officer for this
6. Identify and attach a copy of the summons.                  purpose, please provide the following information: (1)
                                                               your name, address, home and work telephone numbers
                                                               and any convenient time you can be contacted and (2) a
                                                               copy of the summons or a description of it that includes
                                                               the date it was issued, the name of the IRS employee

fl»IRS
Department of the Treasury
                                                               who issued it, and the name of the summoned person.

                                                               The relevant provisions of the Internal Revenue Code
                                                               are enclosed with this notice. If you have any questions,
Internal Revenue Service
                                                               please contact the Internal Revenue Service officer
   www.irs.gov                                                 before whom the person summoned is to appear. The
Form 2039 (Rev. 10-2010)                                       officer's name and telephone number are shown on the
                                                               summons.
                                                        EXHIBIT 2
Catalog Number 21405J
                                                                                       Part D -   to be given to noticee
                Case No. 1:18-mc-00030-PAB Document 1-3 filed 02/08/18 USDC Colorado pg 10 of 12
  Sec. 7609. Special procedures for third-party summons                                               (d) Restriction on examination of records . - No examination of any records required to be
                                                                                                      produced under a summons as to which notice is required under subsection (a) may be
 (a) Notice-                                                                                          made-
          (1) In general. - If any summons to which this section applies requires the giving of                ( 1) before the close of the 23rd day after the day notice with respect to the
          testimony on or relating to, the production of any portion of records made or kept                   summons is given in the manner provided in subsection (a)(2), or
          on or relating to, or the production of any computer software source code (as                       (2) where a proceeding under subsection (b)(2)(A) was begun within the 20-day
          defined in 7612(d)(2)) with respect to, any person (other than the person                           period referred to in such subsection and the requirements of subsection (b)(2)(B)
          summoned) who is identified in the summons , then notice of the summons shall be                    have been met, except in accordance with an order of the court having jurisdiction 01
          given to any person so identified within 3 days of the day on which such service is                 such proceeding or with the consent of the person beginning the proceeding to quash.
          made , but no later than the 23rd day before the day fixed in the summons as the
         day upon which such records are to be examined . Such notice shall be                       (e) Suspension of Statute of Limitations. -
         accompanied by a copy of the summons which has been served and shall contain                         (1) Subsection (b) action . - If any person takes any action as provided in
         an explanation of the right under subsection (b)(2) to bring a proceeding to quash                   subsection (b) and such person is the person with respect to whose liability the
         the summons.                                                                                         summons is issued (or is the agent, nominee, or other person acting under the
         (2) Sufficiency of notice. - Such notice shall be sufficient if, on or before such third            direction or control of such person) , then the running of any period of limitations
         day, such notice is served in the manner provided in section 7603 (relating to                      under section 6501 (relating to the assessment and collection of tax) or under
         service of summons) upon the person entitled to notice, or is mailed by certified or                section 6531 (relating to criminal prosecutions) with respect to such person shall
         registered mail to the last known address of such person, or, in the absence of a                   be suspended for the period during which a proceeding , and appeals therein , with
         last known address, is left with the person summoned . If such notice is mailed, it                 respect to the enforcement of such summons is pending.
         shall be sufficient if mailed to the last known address of the person entitled to notice             (2) Suspension after 6 months of service of summons . - In the absence of the
        or, in the case of notice to the Secretary under section 6903 of the existence of a                   resolution of the summoned party's response to the summons, the running of any
        fiduciary relationship, to the last known address of the fiduciary of such person ,                   period of limitations under section 6501 or under section 6531 with respect to any
        even if such person or fiduciary is then deceased, under a legal disability, or no                    person with respect to whose liability the summons is issued (other than a person ·
        longer in existence.                                                                                 taking action as provided in subsection (b)) shall be suspended for the period-
        (3) Nature of summons . - Any summons to which this subsection applies (and any                             (A) beginning on the date which is 6 months after the service of such
        summons in aid of collection described in subsection (c)(2)(D)) shall identify the                         summons, and
        taxpayer to whom the summons relates or the other person to whom the records                               (B) ending with the final resolution of such response.
        pertain and shall provide such other infonmation as will enable the person
        summoned to locate the records required under the summons.                                   (f) Additional requirements in the case of a John Doe summons. -
                                                                                                     Any summons described in subsection (c)(1) which does not identify the person with respect
(b) Right to intervene; right to proceeding to quash .•                                             to whose liability the summons is issued may be served only after a court proceeding in
         (1) Intervention. - Notwithstanding any other law or rule of law, any person who is        which the Secretary establishes that -
         entitled to notice of a summons under subsection (a) shall have the right to                       (1) the summons relates to the investigation of a particular person or ascertainable
         intervene in any proceeding with respect to the enforcement of such summons                        group or class of persons,
         under section 7604.                                                                                (2) there is a reasonable basis for believing that such person or group or class ol
         (2) Proceeding to quash. -                                                                         persons may fail or may have failed to comply with any provision of any internal
                (A) In general. - Notwithstanding any other law or rule of law, any                         revenue law, and
                person who is entitled to notice of a summons under subsection (a)                           (3) the information sought to be obtained from the examination of the records or
               shall have the right to begin a proceeding to quash such summons not                         testimony (and the identity of the person or persons with respect to whose liability
                later than the 20th day after the day such notice is given in the manner                    the summons is issued) is not readily available from other sources.
                provided in subsection (a)(2) . In any such proceeding , the Secretary
               may seek to compel compliance with the summons.                                      (g) Special exception for certain summonses. -
               (B) Requirement of notice to person summoned and to Secretary. - If                  A summons is described in this subsection if, upon petition by the Secretary, the cour1
               any person begins a proceeding under subparagraph (A) with respect                   determines, on the basis of the facts and circumstances alleged , that there is reasonable
               to any summons, not later than the close of the 20-day period referred               cause to believe the giving of notice may lead to attempts to conceal , destroy, or alter
               to in subparagraph (A) such person shall mail by registered or certified             records relevant to the examination , to prevent the communication of infonmation
               mail a copy of the petition to the person summoned and to such office                from other persons through intimidation , bribery , or collusion, or to flee to avoid
               as the Secretary may direct in the notice referred to in subsection                  prosecution, testifying , or production of records.
               (a) (1 ).
               (C) Intervention, etc. - Notwithstanding any other law or rule of law, the           (h) Jurisdiction of district court; etc. -
               person summoned shall have the right to intervene in any proceeding                           (1) Jurisdiction . - The United States district court for the district within which the
               under subparagraph (A) . Such person shall be bound by the decision in                        person to be summoned resides or is found shall have jurisdiction to hear and
               such proceeding (whether or not the person intervenes in such                                 determine any proceedings brought under subsection (b)(2), (f), or (g). An order
               proceeding) .                                                                                 denying the petition shall be deemed a final order which may be appealed.
                                                                                                             (2) Special rule for proceedings under subsections (f) and (g).· The determinations
(c) Summons to which section applies. -                                                                      required to be made under subsections (f) and (g) shall be made ex parte and shall
        (1) In general. - Except as provided in paragraph (2), this section shall apply to                   be made solely on the petition and supporting affidavits.
        any summons issued under paragraph (2) of section 7602(a) or under sections
        6420(e)(2), 6421 (g)(2), 64270)(2), or 7612.                                                (i) Duty of summoned party. -
        (2) Exceptions. - This section shall not apply to any summons                                         (1) Recordkeeper must assemble records and be prepared to produce records.-
              (A) served on the person with respect to whose liability the summons is                         On receipt of a summons to which this section applies for the production of records
               issued, or any officer or employee of such person;                                            the summoned party shall proceed to assemble the records requested, or such
              (B) issued to detenmine whether or not records of the business                                  portion thereof as the Secretary may prescribe, and shall be prepared to produce
              transaction or affairs of an identified person have been made or kept;                         the records pursuant to the summons on the day on which the records are to be
              (C) issued solely to determine the identify of any person having a                             examined .
              numbered account (or similar arrangement) with a bank or other                                 (2) Secretary may give summoned party certificate. - The Secretary may issue a
              institution described in section 7603(b)(2)(A) ;                                               certificate to the summoned party that the period prescribed for beginning a
              (D) issued in aid of the collection of-                                                        proceeding to quash a summons has expired and that no such proceeding began
                     (i) an assessment made or a judgment rendered against the                               within such period , or that the taxpayer consents to the examination .
                     person with respect to whose liability the summons is                                   (3) Protection for summoned party who discloses. - Any summoned party, or agent
                     issued, or                                                                              or employee thereof, making a disclosure of records or testimony pursuant to this
                     (ii) the liability at law or in equity of any transferee or                             section in good faith reliance on the certificate of the Secretary or an order of a
                     fiduciary of any person referred to in clause; or                                       court requiring production of records or the giving of such testimony shall not be
              (E) (i) issued by a criminal investigator of the Internal Revenue                              liable to any customer or other person for such disclosure.
                     Service in connection with the investigation of an offense                              (4) Notice of suspension of statute of limitations in the case of a John Doe
                     connected with the administration or enforcement of the                                 summons. - In the case of a summons described in subsection (f) with respect tc
                     internal revenue laws, and                                                              which any period of limitations has been suspended under subsection (e)(2) , the
                     (ii) served on a person who is not a third-party recordkeeper                           summoned party shall provide notice of such suspension to any person described
                     (as defined in section 7603(b)) .                                                       in subsection (f) .
       (3) John Doe and Certain Other Summonses. - Subsection (a) shall not apply to
       any summons described in subsection (f) or (g) .                                             U) Use of summons not required .
                                                                                                    Nothing in this ·section shall be construed to limit the Secretary's ability to obtain
       (4) Records. - For purposes of this section , the term records includes books ,
                                                                                                    information , other than by summons , through formal or informal procedures authorized
       papers, and other data.
                                                                                                    by sections 7601 and 7602.




                                                                                       EXHIBIT 2                                                            Form 2039 (Rev. 10-2010
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  Suspension of Corporate Taxpayer's
  Period of Limitations on Assessment
  If a Court Proceeding is Brought
  Regarding a Designated or Related
  Summons

 The IRS may issue designated or related summonses               the day the court proceeding is brought. If the court
 to examine the tax liability of certain corporations. A         orders any compliance with the summons, the
 designated summons will be identified by a statement            suspension will continue until 120 days after the
 at the top of the summons that reads: "This is a                summoned person finally resolves his response to the
 designated summons pursuant to IRC 6503U)." A                   summons. If the court does not order any compliance
 related summons will be identified by a similar                 with the summons, then the period of limitations will
 statement at the top of the summons indicating that it is       resume running on the day after final resolution (but the
 a related summons issued pursuant to I.RC. sec.                 period of limitations will not expire before the 60th day
 6503(j).                                                        after final resolution) .

 If you are a corporate taxpayer and the IRS has issued          To obtain information about the dates of the suspension
 a designated or related summons to investigate your             under section 6503U), you can contact the IRS officer
 tax liability, your period of limitations on assessment will    before whom the person summoned is to appear. The
 be suspended if a court proceeding concerning the               officer's name and telephone number are identified on
 summons is begun. This suspension will be effective on          the summons.




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Form 2039 (Rev. 10-2010)
Catalog Number 21405J                                    EXHIBIT
                                                            Part E -2 to be given to the corporate taxpayer only if
                                                                          this is a designated or related summons
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Sec 6503(j). Extension In case of certain summonses                                         (2) Designated Summons - For purposes of this subsection-

                                                                                                 (A) In General - The term "designated summons· means any summons issued for
(1) In General-
                                                                                                 purposes of determining the amount of any tax imposed by this title if--
     If any designated summons is issued by the Secretary to a corporation (or to any
    other person to whom the corporation has transferred records) with respect to any                  (i) the issuance of such summons is preceded by a review of such issuance
    return of tax by such corporation for a taxable year (or other period) for which such              by the regional counsel of the Office of Chief Counsel for the region in which
    corporation is being examined under the coordinated examination program (or any                    the examination of the corporation is being conducted ,
    successor program) of the Internal Revenue Service, the running of any period of
    limitations provided in section 6501 on the assessment of such tax shall be                        (ii) such summons is issued at least 60 days before the day on which the
    suspended-                                                                                         period prescribed in section 6501 for the assessment of such tax expires
                                                                                                       (determined with regard to extensions), and
    (A) during any judicial enforcement period--
                                                                                                      (iii) such summons clear1y states that it is a designated summons for
       (i) with respect to such summons, or                                                           purposes of this subsection.

       (ii) with respect to any other summons                                                    (B) Limitation - A summons which relates to any return shall not be treated as a
                                                                                                 designated summons if a prior summons which relates to such return was treated
    which is issued during the 30--day period which begins on the date on which such             as a designated summons for purposes of this subsection.
    designated summons is issued and which relates to the same return as such
    designated summons, and
                                                                                            (3) Judicial Enforcement Period - For purposes of this subsection, the term "judicial
    (B) if the court in any proceeding referred to in paragraph (3) requires any            enforcement period" means, with respect to any summons, the period -
    compliance with a summons referred to in subparagraph (A), during the 120 day
    period beginning with the 1st day after the close of the suspension under                    (A) which begins on the day on which a court proceeding with respect to such
    subparagraph (A).                                                                            summons is brought, and

   If subparagraph (B) does not apply, such period shall in no event expire before the          (B) which ends on the day on which there is a final resolution as to the summoned
   60th day after the close of the suspension under subparagraph (A) .                          person's response to such sur,,mons.




                                                                                 EXHIBIT 2                                                     Form 2039 (Rev.10-201 o;
